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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

                                                )
                                                )
                                                )
IN RE THE APPLICATION OF AMGEN                  )
INC.                                            )    Misc. Case. No. _________
                                                )
                                                )

                                    [PROPOSED] ORDER

         This _____ day of _______________, 2024, Petitioner Amgen Inc. having moved for leave

to file its Memorandum of Law in Support of its Ex Parte Application Pursuant to 28 U.S.C. § 1782

for an Order Compelling Discovery for Use in a Foreign Proceeding (the “Memorandum”) and

supporting declaration of Brian P. Egan (the “Egan Declaration”) under seal, and the Court having

determined that good cause exists for the requested relief; now therefore,

         IT IS HEREBY ORDERED that Amgen’s motion is GRANTED.

         IT IS FURTHER HEREBY ORDERED that Amgen shall file a public version of the

materials filed under seal, which redacts any confidential information, within seven days of this

Order.




                                             _______________________________
                                             United States District Judge
